Case 1:22-cv-01336-RDM Document? Filed 05/16/22 Page 1 of 4

FOIA Summons
1/13

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

JANE DOE

Plaintiff

Vv.

Dep't of Justice, Federal Bureau of Investigation

Civil Action No, 22-1336 RDM

Defendant

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) DEPARTMENT OF JUSTICE

950 Pennsylvania Avenue, NW
Washington, DC 20530

A lawsuit has been filed against you.

Within 30 days after service of this summons on you (not counting the day you received it) you must
serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal Rules of
Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney, whose name and

address are: Amanda Kramer Molly Doggett
Covington & Burling LLP Covington & Burling LLP
620 8th Avenue 850 Tenth Street NW
New York, NY 10018 Washington, DC 20001
(212) 841-1223 (202) 662-5354

If you fail to respond, judgment by default may be entered against you for the relief demanded in the
complaint. You also must file your answer or motion with the court.

ANGELA D. CAESAR, CLERK OF COURT

Date: 9/16/2022 /s/ Nicole M. Wilkens

Signature of Clerk or Deputy Clerk

Case 1:22-cv-01336-RDM Document? Filed 05/16/22 Page 2 of 4

FOIA Summons (1/13) (Page 2)

Civil Action No. 22-1336 RDM

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ()))

This summons for (name of individual and title, if any)

was received by me on (date)

1 I personally served the summons on the individual at (place)

on (date) ; or

1 I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

C1 I served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

on (date) > Or
I returned the summons unexecuted because ; or
O Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server’s signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:
Case 1:22-cv-01336-RDM Document? Filed 05/16/22 Page 3 of 4

FOIA Summons
1/13

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

JANE DOE

Plaintiff

Vv.

Dep't of Justice, Federal Bureau of Investigation

Civil Action No, 22-1336 RDM

Defendant

SUMMONS IN A CIVIL ACTION

To: (Defendants name and address) FEDERAL BUREAU OF INVESTIGATION

950 Pennsylvania Avenue, NW
Washington, DC 20530

A lawsuit has been filed against you.

Within 30 days after service of this summons on you (not counting the day you received it) you must
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Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney, whose name and

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Covington & Burling LLP Covington & Burling LLP
620 8th Avenue 850 Tenth Street NW
New York, NY 10018 Washington, DC 20001
(212) 841-1223 (202) 662-5354

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complaint. You also must file your answer or motion with the court.

Rs)

SS ANGELA D. CAESAR, CLERK OF COURT

Date: 5/16/2022 /s/ Nicole M. Wilkens

Signature of Clerk or Deputy Clerk

Case 1:22-cv-01336-RDM Document? Filed 05/16/22 Page 4 of 4

FOIA Summons (1/13) (Page 2)

Civil Action No. 22-1336 RDM

PROOF OF SERVICE
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I returned the summons unexecuted because ; or
O Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server’s signature

Printed name and title

Server’s address

Additional information regarding attempted service, etc:
